CaSe:17-19482-EEB DOC#ZS Filed:ll/14/17 Entered:ll/l4/l7 17200:07 Pagel Ofl

BID
To: Debra Johnson, Public Trust.ee of the City and County ofDenver, State of Colorado (hereinafter the “officer").
Date: October 9, 2017

Sconset Resources Corporation, whose mailing address is 4751 East Perry Parkway, Suite 1000, Greenwood Village, Colorado
80121, bids the sum of 843,949.28 in your Salc No. 2017-000280 to be held on thc 12"1 day ofOctober, 2017.

The following is an itemization of all amounts due the holder of the evidence of debt secured by the deed of trust or other lien
being foreclosed

Street address of property being foreclosed, if known: 1215 East Iowa Avenue, Denver, CO 80210.
Regular [ ] / Default [x] rate of interest as of the date of sale: 21%

Amounts due under the evidence of debt:

Principal S 28,600.00

lnterest S 8,494.78

Late charges S 0.00

Allowable prepayment penalties or premiums 5 0`00

Other amounts due under the evidence of debt (specify) $ 0.00

Category subtotal: $ 37,094.78
Other fees and costs advanced by the holder of evidence of debt:

Property, general liability, and casualty insurance $ 0.00

Property inspections $ 0.00

Appraisals $ 0.00

Taxes and assessments 8 0.00

Utility charges owed or incurred (estimated) S 0.00

Homeowners' association assessment paid S 0.00

Permitted amounts paid on prior liens S 0.00

Permitted lease payments $ 0.00

Less impound/escrow account credit $ 0.(}0

Plus impound/escrow account deficiency $ 0.00

Other $ 0.00

Category subtotal: 3 0.00
Attomey fees and advances:

Attomey fees S 5,650.00

Title commitments and insurances or abstractor charges S 400.00

Court docketing S 236.00

Servicc of Process S 0.00

Postage S 10.00

Electronic transmissions S 0.00

Photocopies 5 0.00

Telephone $ 0.00

Other $ 0.00

Category subtotal: $ 6,296.00
Ofticer fees and costs:

Ofticer statutory fee $ 150.00

Publication charges $ 315.40

Other (describc) S 93.10

Category subtotal: S 558.50
Total due holder ofthe evidence of debt $ 43,949.28

Bid $ 43,949.28

Deticiency $ (0.00)

l enclose herewith the following:
1. Order authorizing sale (emailed 10.9.1'.").

Pleasc send the following:
l. Certiticate of purchase (it` applicable)

Sincerely,

SCONSET RESOURCES CORPORATION

Manin A. Bioom, Reg. No. 13153
4751 East Perry Parkway, Suite 1000
Greenwood Village, CO 80121
(303) 808-6859

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